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                  Exhibit 1
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Reg. No. 5,218,767           PEANUTS WORLDWIDE, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                             3rd Floor
Registered Jun. 06, 2017     1450 Broadway
                             New York, NY 10018
Int. Cl.: 9                  CLASS 9: Motion picture films featuring children's entertainment; downloadable motion
                             pictures featuring children's entertainment
Trademark
                             FIRST USE 10-1-2013; IN COMMERCE 10-1-2013
Principal Register
                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             OWNER OF U.S. REG. NO. 2970744, 4145986

                             SER. NO. 86-059,561, FILED 09-09-2013
                             KIM TSUKIYO SAITO, EXAMINING ATTORNEY
  Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 23 of 29 PageID #:44



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to those for
nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
USPTO website for further information. With the exception of renewal applications for registered
extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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        Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 24 of 29 PageID #:45




Reg. No. 5,214,344           PEANUTS WORLDWIDE, LLC (DELAWARE LIMITED LIABILITY COMPANY)
                             3rd Floor
Registered May 30, 2017      1450 Broadway
                             New York, NY 10018
Int. Cl.: 9                  CLASS 9: Motion picture films featuring animated cartoons; downloadable motion pictures
                             featuring animated cartoons; downloadable music, ringtones and electronic games via the
Trademark                    Internet and wireless devices

Principal Register           FIRST USE 6-00-2013; IN COMMERCE 6-00-2013

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             OWNER OF U.S. REG. NO. 2329351

                             The name "CHARLIE BROWN" does not identify a living individual.

                             SER. NO. 86-059,604, FILED 09-09-2013
                             KIM TSUKIYO SAITO, EXAMINING ATTORNEY
  Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 25 of 29 PageID #:46



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
         DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

Requirements in the First Ten Years*
What and When to File:

     First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the 5th and 6th
     years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is accepted, the
     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

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extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
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do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

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extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




                                          Page: 2 of 2 / RN # 5214344
       Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 26 of 29 PageID #:47




Reg. No. 5,023,666          Peanuts Worldwide LLC (DELAWARE LIMITED LIABILITY COMPANY)
                            3rd Floor
Registered Aug. 16, 2016    1450 Broadway
                            New York, NY 10018
Int. Cl.: 21                CLASS 21: Porcelain Commemorative Plates

Trademark                   FIRST USE 1-31-2015; IN COMMERCE 1-31-2015

Principal Register          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF U.S. REG. NO. 1729501, 1255304, 1265839

                            SER. NO. 86-637,624, FILED 05-21-2015

                            WILLIAM H DAWE III, EXAMINING ATTORNEY
  Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 27 of 29 PageID #:48



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
  WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
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     registration will continue in force for the remainder of the ten-year period, calculated from the registration
     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an Application
     for Renewal between the 9th and 10th years after the registration date.* See 15 U.S.C. §1059.


Requirements in Successive Ten-Year Periods*
What and When to File:

     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal
     between every 9th and 10th-year period, calculated from the registration date.*


Grace Period Filings*

The above documents will be accepted as timely if filed within six months after the deadlines listed above with
the payment of an additional fee.

*ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with an
extension of protection to the United States under the Madrid Protocol must timely file the Declarations of Use
(or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office (USPTO).
The time periods for filing are based on the U.S. registration date (not the international registration date). The
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international registration at the International Bureau of the World Intellectual Property Organization, under
Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated from the
date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

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NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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        Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 28 of 29 PageID #:49




Reg. No. 5,392,411           Peanuts Worldwide LLC (DELAWARE LIMITED LIABILITY COMPANY)
                             3rd Floor
Registered Jan. 30, 2018     1450 Broadway
                             New York, NEW YORK 10018
Int. Cl.: 18                 CLASS 18: bags, namely, purses, tote bags, backpacks, book bags, school bags, diaper bags,
                             duffel bags, messenger bags, overnight bags, sling bags, luggage, luggage tags, travels bags
Trademark                    and garment bags for travel, cosmetic bags sold empty, toiletry bags sold empty, cinch sacks
                             in the nature of drawstring bags used as backpacks, wristlet bags, wallets, change purses,
Principal Register           leather and imitation leather key chains, umbrellas; pet clothing; pet accessories, namely,
                             leashes, collars

                             FIRST USE 1-00-1973; IN COMMERCE 1-00-1973

                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                             PARTICULAR FONT STYLE, SIZE OR COLOR

                             OWNER OF U.S. REG. NO. 4429043, 1729501, 1265839

                             SER. NO. 86-983,440, FILED 09-03-2015
  Case: 1:20-cv-07286 Document #: 1-1 Filed: 12/09/20 Page 29 of 29 PageID #:50



     REQUIREMENTS TO MAINTAIN YOUR FEDERAL TRADEMARK REGISTRATION
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Requirements in the First Ten Years*
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     date, unless cancelled by an order of the Commissioner for Trademarks or a federal court.

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The time periods for filing are based on the U.S. registration date (not the international registration date). The
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nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international registrations
do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the underlying
international registration at the International Bureau of the World Intellectual Property Organization, under
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date of the international registration. See 15 U.S.C. §1141j. For more information and renewal forms for the
international registration, see http://www.wipo.int/madrid/en/.

NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
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extensions of protection, you can file the registration maintenance documents referenced above online at h
ttp://www.uspto.gov.

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owners/holders who authorize e-mail communication and maintain a current e-mail address with the
USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
available at http://www.uspto.gov.




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